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                                #:30291




        EXHIBIT 2
Case 2:17-cv-07639-SJO-KS Document 659-5 Filed 01/21/20 Page 2 of 4 Page ID
                                #:30292
        Case 2:17-cv-07639-SJO-KS Document 659-5 Filed 01/21/20 Page 3 of 4 Page ID
                                        #:30293
art‐based anticipation or obviousness defenses based on a ruling from the Patent Trial and Appeal Board upholding all
claims of the ’190 Patent during an inter partes review proceeding.

The parties have discussed the ASH conference. Plaintiffs do not believe the ASH conference should present any issue
given that it impacts only a single trial day, at most, and the parties can work through the scheduling of any witnesses
who may need to be taken out of order, should that become necessary.

Plaintiffs continue to believe that an estimate of six Court days is reasonable and will encourage the parties to focus on
key issues for decision.

Finally, we would like to confirm that the Court is moving the trial date from Tuesday, December 3, 2019 to Wednesday,
December 4, 2019.

Best regards,
Elizabeth

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From: Dane, Ted [mailto:Ted.Dane@mto.com]
Sent: Thursday, October 24, 2019 4:56 PM
To: Heinrich, Alan; 'Victor Cruz'; Chu, Morgan; Lawton, Adam; Young, Blanca; Vincent, Garth
Subject: RE: 2:17-cv-07639-SJO-KS Juno Therapeutics, Inc. et al v. Kite Pharma, Inc.

Mr. Cruz,

My apologies as well for the delay.

The parties continue to be of different views on this issue. Kite believes the breadth of issues to be tried, the size of the
case and number of witnesses, support a trial length closer to 12 days. The parties have identified 19 will call witnesses
(9 for Juno, and 10 for Kite), and an additional 25 may call witnesses.

Kite also wishes to notify the Court that some witnesses are scheduled to attend or present at the Annual Meeting of the
American Society for Hematology (ASH), being held in Orlando, Florida, from December 7‐10. The Annual ASH meeting
is the premier forum for discussion of critical issues in hematology.

Kite respectfully submits that it may make sense to have a conference with the Court in advance of the Pre‐Trial
Conference regarding the trial schedule.

Best regards,

Ted Dane



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                                                      ***NOTICE***
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        Case 2:17-cv-07639-SJO-KS Document 659-5 Filed 01/21/20 Page 4 of 4 Page ID
                                        #:30294
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From: Heinrich, Alan <AHeinrich@irell.com>
Sent: Thursday, October 24, 2019 3:41 PM
To: 'Victor Cruz' <Victor Cruz@cacd.uscourts.gov>; Chu, Morgan <MChu@irell.com>; Lawton, Adam
<adam.lawton@mto.com>; Young, Blanca <Blanca.Young@mto.com>; Dane, Ted <Ted.Dane@mto.com>; Vincent, Garth
<Garth.Vincent@mto.com>
Subject: RE: 2:17‐cv‐07639‐SJO‐KS Juno Therapeutics, Inc. et al v. Kite Pharma, Inc.

Dear Mr. Cruz,

My apologies for our delay in responding. Plaintiffs believe that this case can reasonably be tried in 6 court days.

Thank you very much,
Alan Heinrich

From: Victor Cruz <Victor Cruz@cacd.uscourts.gov>
Sent: Tuesday, October 22, 2019 10:31 AM
To: Chu, Morgan <MChu@irell.com>; Heinrich, Alan <AHeinrich@irell.com>; Lawton, Adam <adam.lawton@mto.com>;
blanca.young@mto.com; Dane, Ted <Ted.Dane@mto.com>; garth.vincent@mto.com
Subject: 2:17‐cv‐07639‐SJO‐KS Juno Therapeutics, Inc. et al v. Kite Pharma, Inc.

Good Morning Counsel,

Trial is scheduled to commence on 12/04/19. Can you please advise me of your trial estimate?

Thank you.

Victor Cruz
Clerk to Judge Otero




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